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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                         NORTHEASTERN DIVISION

JEFFREY G. MIDDLETON;                        )
DELYNDA J. MIDDLETON                         )
                                             )
      Plaintiffs,                            )
v.                                           )     Case No. 5:16-cv-1530-MHH
                                             )
NAVIENT CORPORATION;                         )
STUDENT ASSISTANCE                           )
CORPORATION,                                 )
                                             )
      Defendants.                            )


                                  ORDER OF DISMISSAL

      Plaintiffs Jeffrey G. Middleton and Delynda J. Middleton and defendants

Navient Corporation and Student Assistance Corporation have filed a joint

stipulation of dismissal with prejudice, with each party to bear its own costs and

attorney’s fees. (Doc. 17). Such a signed voluntary dismissal is effective without

a court order.      See FED. R. CIV. P. 41(a)(1)(A)(ii).   Accordingly, the Court

DISMISSES this action WITH PREJUDICE. The Court directs the Clerk of

Court to please close the file.

      DONE and ORDERED this February 10, 2017.


                                     _________________________________
                                     MADELINE HUGHES HAIKALA
                                     UNITED STATES DISTRICT JUDGE
